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                SEMI-ANNUAL FINANCIAL INFORMATION FISCAL YEAR 2020

                              THE ROMAN CATHOLIC CHURCH OF
                             THE ARCHDIOCESE OF NEW ORLEANS


         This Disclosure Report contains statements relating to future results that are “forward-looking
statements” as defined in the Private Securities Litigation Reform Act of 1995. When used in this
Disclosure Report the words “estimate,” “intend,” “expect” and similar expressions identify forward-
looking statements. Any forward-looking statement is subject to uncertainty and risks that could cause
actual results to differ, possibly materially, from those contemplated in such forward-looking
statements. Inevitably, some assumptions used to develop forward-looking statements will not be realized
or unanticipated events and circumstances may occur. Therefore, investors should be aware that there are
likely to be differences between forward-looking statements and actual results; those differences could be
material.

General Description and History

        The Archdiocese of New Orleans is the second oldest archdiocese in the United States and covers
4,208 square miles in the State of Louisiana (the “State”). The Archdiocese was established as a diocese
in 1793 and became an archdiocese in 1850. In 1941, the Roman Catholic Church of the Archdiocese of
New Orleans (the “Corporation”) was incorporated as a nonprofit corporation under the laws of the State,
and the Corporation is an organization classified under Section 501(c)(3) of the Internal Revenue Code of
1986, as amended. The Corporation, together with other separately incorporated entities, make up the
Archdiocese of New Orleans (the “Archdiocese”).

         The Archdiocese currently operates in the eight civil parishes in the metropolitan New Orleans area
and consists of 112 church parishes in the State. As used in this document and except as otherwise
indicated, the term “parish” refers to the church parishes and not to the civil parishes of the State. The
Corporation provides administrative support to the church parishes and to 79 schools with a fall enrollment
for the 2019-20 school year of 34,182 students. These schools include parish owned elementary schools,
religious order schools and eight high schools and two special needs schools owned by the Corporation.
The schools owned by the Corporation have separate audited financial statements and their operations are
not consolidated with the financial statements of the Corporation. All 79 schools within the Archdiocese
are generally self-sufficient. The Corporation also provides administrative support for separately
incorporated nursing homes, affordable senior living facilities and other community service facilities
consistent with the mission of the Archdiocese. With the exception of St. Anthony’s Gardens which
commenced operations in November 2016 and for which the Corporation has provided a guarantee with
respect to certain indebtedness, each of the nursing homes and affordable senior living facilities and other
community services facilities are largely self-sufficient. See “Description of Indebtedness” on page 21 for
more information regarding such guarantee.

Mission Statement

         The Corporation administers religious, charitable, educational, health and life service programs of
the Roman Catholic Church (the “Church”) within its geographic territory. The mission of the Corporation
is stated as follows:

        “Impelled by Christ’s call and inspired by the Holy Spirit through the work of the Ninth
        General Synod, the ministries of the Archdiocese of New Orleans, in union with the
        Archbishop and with one another, serve the people of the parishes, schools, and



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        organizations of the archdiocese in enabling them to encounter Jesus and to witness with
        joy.”



 Service Area

        Set forth below is a map of the Archdiocese’s service area.

         The following Louisiana civil parishes comprise and are served by the Archdiocese: Jefferson,
 Orleans, Plaquemines, St. Bernard, St. Charles, St. John the Baptist, St. Tammany and Washington.


                                                                   Morehouse West
                                      Claiborne        Union                Carroll
                             Webster                                              Eas
                        Bossier                  Lincoln                        Carroll

                    Cadd                                    Ouachita Richland
                                     Bienville                                     Madison
                                                  Jackson
                                 Red
                                River                        Caldwell Franklin
                     De Soto                                                      Tensas
                                                  Winn
                               Natchitoches                          Catahoul
                                                             La Salle
                           Sabine                   Grant

                                                                       Concordi

                                                   Rapides
                                    Vernon                      Avoyelles
                                                                          West
                                                                        Feliciana Eas       St.
                                                                                FelicianaHelena        Washington
                            Beauregard          Evangeline
                                          Allen                     Pointe        Eas
                                                                    Coupee
                                                        St. Landry          West Baton         Tangipaho
                                                                           BatonRouge
                                                                           Rouge       Livingston       St.Tammany
                                       Jefferson Acadi            St.
                            Calcasieu    Davi                    Martin   Iberville
                                                      Lafayette                    Ascension St. John
                                                                                             the Baptist Orleans
                                                                                          St.
                                                               Iberia                   James      St.
                               Camero                                         Assumption         Charles
                                                  Vermilion
                                                                          St. Martin                 Jefferson St. Bernard
                                                                                St. Mary            Lafourche
                                                                    Iberia

                                                                                           Terrebonne
                                                                                                                Plaquemines




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       Set forth below is certain statistical information pertaining to the Archdiocese for the fiscal years
ended June 30, 2017, 2018 and 2019.

                      Archdiocese                     2017                2018                2019

Parishioners                                        515,077 1           517,454 1           518,989 1
Employees (Administrative Offices Only)               211                 210                 205
Schools                                                80                  80                  79
School Enrollment                                    35,901              35,330              34,870
Parishes                                              111                 112                 112
Nursing Homes                                           3                   3                   3
Affordable Senior Living Facilities                    21                  21                  21
_________________
1
    Estimated population figures.


Source: The Corporation


Governance

       The Corporation is organized exclusively for charitable, religious and educational purposes. The
Archbishop of New Orleans (the “Archbishop”) is the sole member and chief administrator of the
Corporation, and his responsibilities include appointment and removal of priests and deans, review and
approval of the Corporation’s budget and expenses, and policy development regarding the Corporation.
The Archbishop is aided and advised by the Board of Directors of the Corporation, the officers of the
Corporation and the Archdiocesan Councils.

Administration

        The Archbishop and current President of the Corporation is Most Reverend Gregory Michael
Aymond. The Archbishop directly supervises the following officers of the Corporation and delegates to
them full responsibility within their respective functions. The following are brief biographic sketches of
the senior administrative officers and financial officers of the Corporation:

        Most Reverend Gregory Michael Aymond, Archbishop, President and Board Member. The Most
Reverend Gregory Michael Aymond became the fourteenth Archbishop of New Orleans on August 20,
2009, succeeding Archbishop Alfred Clifton Hughes.

        Archbishop Aymond was ordained an Auxiliary Bishop of New Orleans on January 10, 1997 and
became Coadjutor Bishop of Austin in 2000 and was installed as Bishop there on August 3, 2000.
Archbishop Aymond has served as Chairman of the United States Conference of Catholic Bishops
Committee on the Protection of Children and Young People. He also was Chairman of the Board of
Directors of the National Catholic Educational Association from 2000-04. He currently serves as a member
of the U.S. Bishops Committee on Laity, Marriage, Family Life and Youth, the Committee on Clergy,
Consecrated Life and Vocations, and is Secretary of the United States Conference of Catholic Bishops.

       After graduating from St. Joseph Seminary College, St. Benedict, Louisiana, in 1971, he earned a
Master’s Degree in Divinity from Notre Dame Seminary in New Orleans in 1975. He was ordained a priest
in New Orleans on May 10, 1975. From 1973 to 1981, he was a Professor, Business Administrator and
then Rector of St. John Vianney Preparatory Seminary in New Orleans after his ordination. From 1981 to




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1986, he was Professor of Pastoral Theology and Homiletics and Director of Education at Notre Dame
Seminary.

        Archbishop Aymond served as President-Rector of Notre Dame Seminary from 1986 until the end
of the 1999-2000 academic year. Archbishop Aymond also served as the Executive Director of the
Archdiocesan Department of Christian Formation, and Director of the Society of the Propagation of the
Faith.

         Jeffrey J. Entwisle, Chief Financial Officer, Secretary and Board Member. Jeffrey J. Entwisle
was appointed to the position of Chief Financial Officer and Secretary for the Archdiocese of New Orleans
in July 2016. Prior to this, he was the Chief Operating Officer and Treasurer for the Archdiocese of New
Orleans, and held those positions since February 2007, and held the position of Finance Review Officer
since April 2002. Prior to joining the Archdiocese, he was the Accounting Manager at Reagan Equipment
Company for two years. Mr. Entwisle has a B.S. in Accounting and Master of Business Administration
from the University of New Orleans and maintains the certified internal auditor and certified fraud examiner
designations, and a certification on risk management assurance.

         Kathleen R. Hebert, CPA, Chief Operating Officer. Kathleen R. Hebert is Chief Operating Officer
for the Archdiocese of New Orleans. She began her career as an audit professional at Ernst & Young, LLP
where she was an Audit Manager. She served as the Vice President of Finance & Administration for The
Greater New Orleans Foundation from 2002-2007. She began her own accounting and consulting practice
in 2008 in which she provided services to the Archdiocese of New Orleans. Ms. Hebert has a B.S. in
Accounting from Louisiana State University and is a licensed Certified Public Accountant in the State of
Louisiana.

        Most Reverend Fernand J. Cheri, III, O.F.M., First Vice-President, Vicar General and Board
Member. The Most Reverend Fernand J. Cheri, III, a Franciscan Friar of the Sacred Heart Province, was
ordained to the Episcopacy and appointed Vicar General on March 23, 2015. He completed his Masters of
Divinity degree at Notre Dame Seminary in New Orleans and his Masters of Theology from Xavier
University in New Orleans. He has served in parishes in the New Orleans area and in Nashville, Tennessee,
and taught in high schools in New Orleans, Chicago, and Belleville, Illinois. Bishop Cheri has been
appointed to, and served on, a variety of national prestigious Black Catholic committees and conferences
throughout the years.

        Very Reverend Patrick J. Williams, Vicar General. Father Williams, a native of New Orleans and
graduate of Holy Cross High School, attended Notre Dame Seminary and was ordained in May 1993. On
January 1, 2014, he was appointed Vicar General for the Archdiocese of New Orleans. Father Williams
earned a Master’s of Divinity Degree from Notre Dame Seminary and a Master’s of Science in Education
from Loyola University, both in 1993. After a Parochial Vicar Position and Vice Rector of Notre Dame
Seminary, Father Williams was named Rector of Notre Dame Seminary in 2000 and remained in that
position until 2007, when he was assigned to St. Pius X as parochial vicar and then as pastor in 2009 where
he is presently pastor. Father Williams is currently the Executive Director for Clergy which he was
appointed to in February 2009 and Assistant Secretary for the Archdiocese of New Orleans.

        Very Reverend Patrick R. Carr, Vicar of Finance. Father Carr earned a Master of Divinity Degree
from Notre Dame Seminary. He was ordained to the priesthood in June 2016. He also graduated from
Louisiana State University in accounting and is a Certified Public Accountant. He worked in public
accounting for eleven years. Father Carr is currently the Parochial Vicar at St. Peter Catholic Church in
Covington. He is a member of the finance council of the Archdiocese of New Orleans and was appointed
the Vicar of Finance for the Archdiocese of New Orleans in August 2019.



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        Very Reverend Peter O. Akpoghiran, J.C.D., Second Vice President, Judicial Vicar, Chancellor
and Board Member. Father Akpoghiran was ordained to the priesthood on December 12, 1992. He
completed his Masters of Theology Degree from St. John’s University, Queens, New York, in 2002. He
served as the Associate Pastor of St. Francis of Paola, Brooklyn, New York, from 2001-2003. He obtained
a Licentiate in Canon Law in 2005 and a Doctor of Canon Law Degree in 2007, from The Catholic
University of America, Washington, D.C. He served as Judge in the Diocese of Richmond, Virginia, from
2007-2011. In September of 2011, he was appointed by His Excellency, Archbishop of New Orleans, as
the Judicial Vicar of the Archdiocese of New Orleans. In 2013, Father Akpoghiran was also appointed as
the Chancellor of the Archdiocese of New Orleans.

Archdiocesan Councils

           The Archdiocesan Councils which advise the Archbishop on policies, procedures and practices
include:

        The Priests’ Council. The Priests’ Council advises and assists the Archbishop in the governance
of the Corporation in accordance with the norms of Canon Law for the Church.

       The Administrative Council. The Administrative Council consists of the Vicars General, the
Chancellor, the Executive Director of Pastoral Planning and Ministries, the Chief Financial Officer, the
General Counsel, and the Human Resource Director. It advises the Archbishop on Corporation policies,
procedures and practices.

         The College of Consultors. The College of Consultors is appointed by the Archbishop from the
membership of the Priests’ Council. It elects a Corporation administrator when the seat becomes vacant,
offers advice on extraordinary acts of administration and consent for the acquisition and alienation of certain
ecclesiastical properties.

         The Finance Council. The Finance Council is established pursuant to the Code of Canon Law for
the Church and consists of clergy and lay persons of the Church who are skilled in financial matters and
familiar with elements of Canon and civil law. The Finance Council is appointed by the Archbishop to
provide advice on the temporal administration of the Corporation, to assist the Archbishop in the economic
administration of the Corporation and to prepare and review annual budgets for the Corporation. All
Finance Council members serve five-year terms. After serving two consecutive terms, an appointed
member must relinquish membership status, but may be reappointed as long as two years have passed since
his or her last appointment. Finance Council members currently include the following individuals:

                           Name                                 Affiliation                Appointed
              Ms. Marguerite L. Adams, Esq.   Liskow & Lewis                                 9/2009
              Ms. Emily Marcotte Barilleau    Entergy Services, Inc.                         4/2013
              Rev. Patrick Carr               Parochial Vicar, St. Peter Church              1/2017
              Mr. Lloyd E. Eagan, Jr.         Retired                                        4/2013
              Mr. Paul L. Fine                President, Goldring Family Interests           9/2009
              Mr. William F. Finegan          President, Eye Ear Nose Throat Foundation     10/2010
              Ms. Mary S. Johnson             Seaport Global Securities, LLC                 9/2018
              Ms. Raechelle Munna, Esq.       Entergy Services, Inc.                         7/2017
              Mr. Calvin S. Tregre            Retired                                        9/2009
              Rev. Otis W. Young, Jr.         Pastor, St. Peter Church                       8/2011
              Mr. Lloyd A. Tate               Retired                                        9/2019



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       The Finance Council’s work is supported by three sub-committees: the Audit Subcommittee, the
Investment Subcommittee and the Real Estate Subcommittee.

       Subcommittees. The members of the Real Estate Subcommittee, the Audit Subcommittee and the
Investment Subcommittee and their affiliations are as follows:

                                         Name                                    Affiliation
Real Estate Subcommittee          Rodney J. Abele, Jr.           Orleans Capital Management
                                  Marguerite L. Adams            Liskow & Lewis
                                  Deacon Ron Drez, Jr.           Ron J. Drez, Jr. Appraisal Services
                                  Todd R. Gennardo               Denechaud and Denechaud
                                  Mark Rodi                      Re/Max Affiliates

Audit Subcommittee                William F. Finegan             Eye Ear Nose Throat Foundation
                                  Catherine B. Howard            Performance Architecture, LLC
                                  Robert D. Munch, Jr.           Laitram, LLC
                                  Dina B. Riviere                Taylor Energy Company, LLC
                                  Lloyd A. Tate                  Retired, Deloitte & Touche, LLP
                                  Jeffray A. Teague              GNO, Inc.

Investment Subcommittee           Joseph Carrere                 Kennan Capital, Ltd.
                                  Mason G. Couvillon             Dardis Couvillon & Associates
                                  Terry A. DuFrene               JP Morgan Securities, LLC
                                  Octave J. Francis, III         Francis Financial Consultants
                                  Paul L. Fine                   President, Goldring Family Interests
                                  Alex Gershanik                 Power Courses, LLC
                                  Cory Howat                     Catholic Community Foundation,
                                                                 Archdiocese of New Orleans
                                  St. Denis J. Villere           St. Denis J. Villere & Company


      The members of the subcommittees referenced above are appointed and removed from the
subcommittees by the Archbishop.

Deaneries

         The Archdiocese is comprised of 112 parishes, organized into 10 deaneries. Deaneries are regional
clusters of parishes. A Dean supervises the parochial records, implements church and Archdiocesan
policies and coordinates the apostolic efforts of clergy, religious and the faithful within the deanery.

Parishes

        Parishes are geographic entities that include churches and in some cases elementary schools, and
are served by a pastor. Almost all of the 112 parishes are separately incorporated under Louisiana law as
legal entities separate and apart from the Corporation. The Archbishop is the sole member of each
separately incorporated parish. Pastors are responsible for all religious, financial and other matters and are
accountable to the Archbishop. The Parish Council is an advisory body that assists the Pastor with general


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 parish matters. The Parish Finance Council is an advisory body that provides consultation on financial
 matters of the parish.

 Canon Law

           The Corporation was formed under Louisiana applicable laws and generally operates and is bound
 by such laws. The Corporation is also required to comply with the provisions of the Code of Canon Law
 for the Church in carrying out its mission and in conducting its business affairs. Canon Law includes
 policies, procedures, and practices that must be followed by the Corporation and the Archdiocesan Councils
 in conducting the business of the Corporation. These procedures include, but are not limited to, hearing
 from the Finance Council (which consists of clergy and lay persons of the Church who are skilled in
 financial matters and familiar with elements of Canon and civil law) on extraordinary assessments imposed
 on, among other entities, parishes of the Corporation and having the Finance Council review the annual
 budget. Additionally, the Corporation must also hear from the Presbyteral Council on taxes imposed on
 such parishes for the needs of the diocese. The College of Consultors approval is required for the alienation
 of certain ecclesiastical properties. In addition, Canon Law directs administrators serving the Church to
 fulfill their function with diligence, and consequently they must pay, at the stated time, the interest due on
 loans and take care that the debt itself is repaid in a timely manner.

 Information about Financial Statements

         The audited financial statements are solely the audited financial statements of the Corporation’s
 Administrative Offices (the “Administrative Offices”) and include the assets, liabilities, net assets, and
 financial activities of the Administrative Offices, but do not include the financial operations or assets of the
 individual parishes, the Corporation owned high schools or special needs schools (other than a portion of
 the value of such Corporation owned schools on the balance sheet of the Corporation’s Administrative
 Offices), or other church-related agencies and institutions within the Corporation’s geographical
 boundaries. The audited financial statements also do not include the fair market values of the churches,
 properties in the parishes, rectories, or schools belonging to the Corporation nor The Archdiocese of New
 Orleans Indemnity, Inc. (“ANOI”), a captive non-profit insurance company (see “Insurance Coverage” on
 page 23). With respect to repayment of the Bonds, however, the Corporation alone (and not the individual
 parishes, schools or other church related agencies) will be liable to the Authority for payments due under
 the Loan Agreement, dated as of April 1, 2017 between the Louisiana Public Facilities Authority and the
 Corporation (the “Loan Agreement”), which are the source of payment of the principal, interest and
 premium, if any, of the Bonds.

         As discussed above, the Administrative Offices is an administrative unit of the Corporation whose
 income is largely generated through the assessment of fees charged to parishes, schools and agencies to pay
 for administrative costs of organizing and administering Corporation-wide programs for insurance and
 other programs. Fees for such services are set to cover these administrative costs and not to build cash
 reserves or endowments. Total revenues of the Administrative Offices increased from $50,408,973 in fiscal
 year 2018 to $72,500,600 in fiscal year 2019, or 44%. This increase was primarily due to addition of
 medical insurance to the self-insurance program. Net unrestricted assets of the Corporation were
 $47,203,051 and $51,017,384 at the end of the fiscal years ended June 30, 2018 and 2019, respectively.

          As also noted above, the financial statements of the parishes and schools of the Corporation are not
 independently audited. The revenues and expenses of these entities are, however, reviewed by the
 Corporation’s Finance Office, and annual financial statements are internally prepared, indicating total
 income, total expense, and net income (loss) for each parish and school within the Corporation.
 Additionally, each year approximately one-third of the schools and parishes undergo an on-site review of
 internal financial controls conducted by the internal audit function of the Corporation. Each parish and


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school maintains operating accounts in its own name, with excess cash and investments held at the
Corporation in the Deposit and Loan Fund.

Financial Information

         Set forth below is the Corporation’s statement of financial position and statement of activities for
the fiscal years ended June 30, 2016 through 2019 with respect to its Administrative Offices. This
information was derived from the Corporation’s financial statements with respect to its Administrative
Offices and its financial records and only includes the assets, liabilities, revenues and financial activities of
the Corporation’s Administrative Offices. Also included on an unaudited basis is certain information with
respect to the Administrative Offices for the six months ended December 31, 2018 and 2019.

        While the obligation of the Archdiocese to make payments under the Loan Agreement with respect
to the Bonds is a general, unsecured obligation of the Archdiocese, payable from its gross revenues, its
general fund or any other moneys legally available to the Archdiocese, there will not be a mortgage on or
a security interest in any of the property of the Archdiocese or its revenues or other funds or assets. See
however “Undeveloped Land of the Corporation” on page 21.



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                                                           STATEMENTS OF FINANCIAL POSITION

                                                   Roman Catholic Church of the Archdioce se of Ne w Orle ans
                                                                   Administrative Office s

                                              As of June 30, 2016, 2017, 2018, 2019 and De ce mbe r 31, 2018, 2019

                                     ASSETS                                                                                          (Unaudite d)      (Unaudite d)
                                                                2016              2017              2018              2019                        2     12/31/2019
                                                                                                                                     12/31/2018

Cash and cash equivalents                                  $     5,248,515   $     6,899,170   $    11,008,675   $     5,245,069     $     3,657,841   $     5,421,114
Grants receivable - FEMA                                         2,497,613           212,461           480,438           334,496                 -                 -
Accounts receivable from affiliates and other - less
  allowance for doubtful receivables                             3,645,493         4,207,232         9,176,462        10,205,646           8,317,749        22,838,541
Reinsurance receivable                                                 -                 -                 -           3,432,853           3,593,292         4,382,308
Prepaid expenses                                                 1,467,726         1,797,697         1,461,990         1,557,690           1,205,712         1,428,014
Loans receivable from affiliates – less allowance
  for doubtful receivables                                      71,946,780        55,305,475        62,105,949        68,520,032          81,517,211        71,921,560
Investments                                                    232,603,063       286,268,058       293,242,690       305,529,667         275,191,062       301,101,222
Land, buildings and equipment – less accumulated
  depreciation                                                  77,212,519        75,035,899        73,453,685        71,521,278          72,306,058        70,449,039
Other assets                                                       122,000           122,000           122,000           122,000             122,000           122,000
Beneficial interest in charitable remainder trust                  429,556           487,437           580,247           428,722             899,907           449,909

    Total assets                                          $ 395,173,265      $ 430,335,429     $ 451,632,136     $ 466,897,453       $ 446,810,832     $ 478,113,707



                  LIABILITIES AND NET ASSETS
Liabilitie s
  Accounts payable                           $   2,858,843                   $     1,462,399   $     3,092,273   $     3,073,114     $     2,652,779   $     2,559,661
  Accrued expenses and other                     4,066,673                         3,337,256         3,658,079         3,252,159          17,923,674        18,102,095
  Accrued liability for self-insured claims      1,284,299                           949,186         9,515,487        11,231,455           9,709,661        10,204,658
  Deposits payable to affiliates               115,749,156                       149,873,450       153,572,072       153,888,042         150,323,423       141,953,209
  Funds held for affiliates                     86,854,026                       103,929,966       121,528,467       133,388,826         115,032,186       139,243,551
  Bonds payable, net                            56,214,661                        42,947,973        41,578,676        40,045,535          41,596,513        40,063,372
  Accrued pension liability                     46,105,433                        44,002,789        43,330,928        43,232,295          43,980,927        44,132,295

        Total liabilities                                      313,133,091       346,503,019       376,275,982       388,111,426         381,219,163       396,258,841

Ne t Asse ts 1
 Without donor restrictions:
     Undesignated                                               54,563,320        56,806,537        46,328,051        50,217,384          36,638,166        53,286,223
     Board designated                                                  -                 -             875,000           800,000             800,000           800,000
 With donor restrictions                                        27,476,854        27,025,873        28,153,103        27,768,643          28,153,503        27,768,643
        Total net assets                                        82,040,174        83,832,410        75,356,154        78,786,027          65,591,669        81,854,866
        Total liabilities and net assets                  $ 395,173,265      $ 430,335,429     $ 451,632,136     $ 466,897,453       $ 446,810,832     $ 478,113,707

1
  Certain amounts in the financial statements have been reclassified to conform to the 2019 financial statement presentation. Total net assets did not change as a
result of the reclassification.
2
    2018 was adjusted to include health insurance activity. The Archdiocese became self-insured for health beginning July 1, 2018.

Source: The Corporation
                                                                                   9
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                                                                                  STATEMENTS OF ACTIVITIES

                                                                 Roman Catholic Church of the Archdiocese of New Orleans
                                                                                 Administrative Offices

                                                            As of June 30, 2016, 2017, 2018, 2019 and December 31, 2018, 2019

                                                                                                                                                        (Unaudited)            (Unaudited)
                                                                              1                    1                     1            2019                         2
                                                                                                                                                                                12/31/2019
                                                                       2016                 2017                  2018                              12/31/2018
Revenue, Gains, and Other Support
   Assessments to affiliated entities for:
      Archdiocesan support                                        $      9,317,871      $     9,436,494      $      9,921,009     $   10,269,321    $       5,503,106      $       5,866,931
      Priest health insurance and retirement                             2,487,790            2,583,572             2,750,208          2,663,549            1,259,129              1,367,239
      Insurance                                                         15,390,638           16,456,205            16,680,683         34,203,196           18,262,230             18,945,526
               Total assessments                                        27,196,299           28,476,271            29,351,900         47,136,066           25,024,465             26,179,696

      Fee revenue                                                        4,469,206             4,530,953            5,303,633          6,612,181            3,032,642              3,125,755
      Bad debt recovery                                                    729,276                   -                    -                  -                    -                      -
      Contributions and grants                                           1,243,038             2,277,117            3,294,504          3,384,092              591,684              1,120,559
      Rents and royalties                                                  816,096               768,403              774,012            769,899              473,816                494,308
      Spending distribution - investment income                          3,722,000             4,363,000            4,335,690          4,241,843            2,120,922              2,139,085
      Interest income - Deposit and Loan Fund                            2,521,189             2,052,829            1,986,621          2,124,317            1,230,845              1,109,450
      Insurance rebate                                                         -                     -                875,000          2,500,000                    -                      -
      Land damage settlements                                                1,809                 6,212            3,991,023          1,996,634                    -                    239
      Gain on sale of assets                                             2,692,467             1,308,886                  286          2,644,980              (50,798)                     -
      Changes in value of charitable remainder trust                        26,126                57,881               92,810            448,475              319,660                 21,188
      Miscellaneous                                                        439,644               461,738              403,494            642,113              223,352                266,630
               Total revenue, gains, and other support                  43,857,150           44,303,290            50,408,973         72,500,600           32,966,588             34,456,910

Expenses
   Program services:
       Ministries                                                       18,690,186           21,678,886            23,924,197         21,859,838            9,522,120             11,014,928
       Supporting and services to various parishes and
           other related agencies                                       16,710,663           18,299,875            27,431,289         38,129,424           19,058,096             19,286,207
   Management and general                                               13,569,750           13,145,722            12,386,503         12,618,776            6,770,150              4,604,158
   Development and fundraising                                           1,096,297              829,306               845,325            762,522              437,290                478,035
               Total expenses                                           50,066,896           53,953,789            64,587,314         73,370,560           35,787,656             35,383,328

Loss From Operations                                                    (6,209,746)           (9,650,499)         (14,178,341)         (869,960)           (2,821,068)              (926,418)

Non-Operating Revenues (Expenses)
   Investment income - net                                              (1,919,548)          12,816,763             7,526,759          6,832,295           (4,884,465)             6,134,342
       Less - spending distribution                                     (3,722,000)          (4,363,000)           (4,335,690)        (4,241,843)          (2,120,922)            (2,139,085)


      Investment income - net of spending distribution                  (5,641,548)           8,453,763             3,191,069          2,590,452           (7,005,387)             3,995,257
      Loss on early extinguishment of debt                                     -             (1,328,839)                  -                  -                    -                      -
      Grants and donations related to hurricanes                        28,089,184           14,167,623             4,060,978          3,280,060              749,073                940,838
      Distributions of grants and donations to affiliates              (27,349,715)         (14,167,623)           (4,060,978)        (3,280,060)            (687,103)              (940,838)
               Total non-operating revenues - net                       (4,902,079)            7,124,924            3,191,069          2,590,452           (6,943,417)             3,995,257

Excess (Deficiency) of Revenue, Gains, and
   Other Support Over Expenses                                         (11,111,825)           (2,525,575)         (10,987,272)         1,720,492           (9,764,485)             3,068,839

Additional Minimum Pension Liability Adjustment                         (7,934,801)            4,317,811            2,511,016          1,709,381                       -                 -

Increase (Decrease) in Net Assets                                      (19,046,626)            1,792,236           (8,476,256)         3,429,873           (9,764,485)             3,068,839

Net Assets
   Beginning of year                                                   101,086,800           82,040,174            83,832,410         75,356,154           75,356,154             78,786,027
      End of year                                                 $     82,040,174      $    83,832,410      $     75,356,154     $   78,786,027    $      65,591,669      $      81,854,866

1
    Certain amounts in the financial statements have been reclassified to conform to the 2019 financial statement presentation.
2
 2018 was adjusted to include health insurance activity. The Archdiocese became self-insured for health beginning July 1, 2018.
Source: The Corporation




                                                                                              10
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                                                 Net Income Available for Debt Service Coverage

                                                                                      2016               2017                2018             2019
Increase(Decrease) in Net Assets                                                 $   (19,046,625)      $ 1,792,236        $ (8,476,256)     $ 3,429,873
                                  1
Subtract Non-Operating Revenue                                                                -         (15,805,735)       (10,037,775)        (8,541,676)
                              1
Add Non-Operating Expense                                                               9,114,880               -                  -                  -
Plus: Depreciation                                                                      2,059,838         2,124,014          2,170,032          2,169,971
Plus: Interest Expense (Including Deposit & Loan Fund Interest Expense)                 4,087,572         4,707,367          4,153,409          3,611,773
Plus: Pension Expense Actuarial Adjustment 2                                            1,324,742         2,215,167          1,839,155          1,610,748
Plus: Annual Available Distribution of Cash & Investments (at 5%) 3                     8,207,327         8,891,355          9,038,156          8,931,109
Net Income Available for Debt Service                                            $      5,747,734      $ 3,924,404        $ (1,313,279)     $ 11,211,798

Actual Debt Service on Refunded Bonds                                                   3,183,252         3,183,252          3,244,163          3,246,413

Actual Debt Service Coverage on Refunded Bonds                                              1.81x             1.23x             (0.40)x             3.45x

Debt Service Coverage on Bonds plus 20% of that portion of                              3,527,721         3,527,721          4,051,713          4,044,963
 Existing Senior SAG Debt assuming fully performing4                                        1.63x             1.11x            (0.32)x              2.77x

Debt Service Coverage on Bonds plus 100% of Existing Senior                             4,905,596         4,905,596          7,281,914          7,239,164
 SAG Debt assuming non-performing4                                                          1.17x              0.8x            (0.18)x              1.55x

1,2,3
     The calculation of each of these components of "Net Income Available for Debt Service" is shown with the corresponding number in the table
entitled Component Calculations of Certain Items Included in "Net Income Available For Debt Service" Coverage set forth on page 12.
4
  Based on the definition of Annual Debt Service Requirements in the Loan Agreement, the calculation assumes that only 20% of the guaranteed debt
will be included in the calculation so long as that debt is performing on its own or if that is not the case 100% of the Existing Senior SAG Debt must be
included. At this time, that debt is performing and this calculation is provided for informational purposes only.


Source: The Corporation




                                                   [Remainder of page intentionally left blank]




                                                   11
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Underlying Calculations for a Debt Service Coverage Ratio

       The following table sets forth the component calculations for certain items included in “Net Income Available for Debt
Service,” as defined in the Loan Agreement, used to calculate the Debt Service Coverage Ratio on the Bonds as set forth in the
“Annual Debt Service Requirements” per the Loan Agreement.

                                                  Component Calculations of Certain Items Included in
                                                  "Net Income Available for Debt Service" Coverage

                                                                           2016               2017               2018               2019
1 Non-Operating Revenues (Expenses)
Investment Return                                                     $    (1,919,548)   $     12,816,763    $     7,526,759    $     6,832,295
Grants and donations related to hurricanes                                 28,089,184          14,167,623          4,060,978          3,280,060
Distributions of donations to affiliates                                  (27,349,715)        (14,167,623)        (4,060,978)        (3,280,060)
Additional minimum pension liability adjustment                            (7,934,801)          4,317,811          2,511,016          1,709,381
Loss on Early Extinguisment of Debt                                               -            (1,328,839)               -                  -

Non-Operating Gain (Loss)                                             $    (9,114,880)   $     15,805,735    $    10,037,775    $     8,541,676


2 Pension Expense Actuarial Adjustment
Current Year Accrued Pension Liability                                $    46,105,433    $     44,002,789    $    43,330,928    $    43,232,295
Less: Prior Year Accrued pension liability                                (36,845,890)        (46,105,433)       (44,002,789)       (43,330,928)

Current Year Increase (Decrease) Accrued Pension Liability            $     9,259,543    $     (2,102,644)   $      (671,861)   $       (98,633)

Current Year Intangible Pension (Expense) Income                      $           -      $            -      $           -      $           -
Less: Current Year Increase (Decrease) Accrued Pension Liability            9,259,543          (2,102,644)          (671,861)           (98,633)

Current Year Total Net Pension Revenue & Expense Effect                    (9,259,543)          2,102,644            671,861             98,633
Less: Current Year Additional minimum pension liability adjustment          7,934,801          (4,317,811)        (2,511,016)        (1,709,381)

Current Year Pension Expense Adjustment included in net assets        $    (1,324,742)   $     (2,215,167)   $    (1,839,155)   $    (1,610,748)


3 Annual Distribution of Cash and Investments
Available Cash & Investments                                          $   164,146,530    $    177,827,098    $   180,763,121    $   178,622,187
5.00%                                                                       8,207,327           8,891,355          9,038,156          8,931,109



Source: The Corporation




                                                              12
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Liquidity and Net Worth

        The Loan Agreement contains several financial covenants. Debt service coverage is shown on page 11
under the caption “Net Income Available for Debt Service Coverage”.

         The Loan Agreement also contains a Liquidity Covenant and a Net Worth Covenant. Set forth below are
calculations of the Liquidity Covenant and Net Worth Covenant over the past four fiscal years of the Corporation
based solely upon the direct debt of the Corporation outstanding. The 2017, 2018, 2019 and the unaudited
12/31/2019 calculations also show the calculations of those covenant ratios giving effect to the Bonds plus 20% of
the guaranteed Existing Senior SAG Debt (which is the percentage to be used as long as no default has occurred
under the Existing Senior SAG Debt and the guarantee has not been drawn upon), and the Bonds plus 100% of the
guaranteed Senior SAG Debt. However, past operating history is not necessarily indicative of future results.


                                                 Liquidity Covenant
                                                                                                                       (Unaudited)
                                                        2016             2017             2018             2019         12/31/2019

Unrestricted Cash & Investments 1                    $ 122,472,882    $ 158,498,464   $ 153,460,925    $ 148,932,671   $ 138,109,196
Total Debt (Bonds)                                  $ 57,630,000      $ 40,545,000    $ 39,290,000     $ 37,970,000    $ 37,970,000
Liquidity Ratio with respect to Bonds                    2.13             3.91            3.91             3.92            3.64
Liquidity Ratio Adding 20% of Guaranteed
Existing Senior SAG Debt                                                  3.11            3.11             3.13            2.91
Liquidity Ratio Adding 100% of
Guaranteed Existing Senior SAG Debt                                       1.71            1.72             1.73            1.62




                                                Net Worth Covenant
                                                                                                                       (Unaudited)
                                                        2016             2017             2018             2019         12/31/2019

Total Financial Resources 2                          $ 152,365,464    $ 187,912,275   $ 175,989,520    $ 173,835,054   $ 163,539,771
Total Debt (Bonds)                                  $ 57,630,000      $ 40,545,000    $ 39,290,000     $ 37,970,000    $ 37,970,000
Net Worth with respect to Bonds                          2.64             4.64            4.48             4.58            4.31
Net Worth Adding 20% of Guaranteed
Existing Senior SAG Debt                                                  3.69            3.57             3.66            3.45
Net Worth Adding 100% of Guaranteed
Existing Senior SAG Debt                                                  2.03            1.97             2.02            1.92

1, 2
   The calculation of each of these components of the “Liquidity Covenant” and “Net Worth Covenant” for 2019 and
(Unaudited) 12/31/2019 is shown with the corresponding number on pages 14 and 15.

Source: The Corporation

                                           [Remainder of page intentionally left blank]




                                                             13
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   Underlying Calculations for Liquidity Covenant and Net Worth Covenant

          The following table sets forth the component calculations for certain items included in the
   Liquidity Covenant and Net Worth Covenant as defined in the Loan Agreement and calculated on page 13.

                                                                                           6/30/2019          12/31/2019
  Unrestricted Cash and Investments
  Cash & Cash Equivalents                                                              $      5,245,069      $     5,421,114
                                  3
  Readily Marketable Securities                                                             170,900,398          159,879,691
                                              4
  Less Notes Payable and Restricted Assets                                                  (27,212,796)         (27,191,609)
  1 Total Unrestricted Cash and Investments                                            $    148,932,671      $ 138,109,196

  Readily Marketable Securities
  Corporation Identified Investments Including DSRF                                    $    174,974,607      $ 164,010,953
                            5
  Less Illiquid Investments                                                                  (4,074,209)          (4,131,262)
  3 Total Readily Marketable Securities                                                $    170,900,398      $ 159,879,691

  Restricted Assets in Investments
  Temporarily Restricted Net Assets in Investments                                     $     13,623,279      $    13,623,279
  Less Temp Test Net Assets not included in investments - Lauer CRAT                           (428,722)            (449,909)
  Less Temp Test Net Assets not included in investments - Cummings Land                        (127,125)            (127,125)
  Permanently Restricted Net Assets in Investments                                           14,145,364           14,145,364
  4 Total Restricted Assets                                                            $     27,212,796      $    27,191,609

  Illiquid Investments
  Illiquid Investments from Portfolio A:
        Siguler Guff DOF III                                                           $      1,095,905      $     1,165,234
        Siguler GuffDOF IV                                                                    1,622,359            1,588,665
        Siguler Guff Distressed REOF II                                                       3,414,737            3,465,621
        MDFLTD Cerberus                                                                             -                    -
        MDFLTDHF                                                                                    -                    -
        VIA Energy III                                                                        3,838,672            3,987,889
  Illiquid Investments                                                                 $      9,971,673      $    10,207,409
  Corporation Portion of total portfolio A                                                      40.86%               40.47%
  5 Corporation Portion of Illiquid Investments                                        $      4,074,209      $     4,131,262

  St. Anthony's Garden - Guaranteed Debt
  Par Amount                                                                           $     37,952,424      $    37,409,133
  Principal                                                                                  10,000,000           10,000,000
  Total St. Anthony's Gardens Debt (100%)                                                    47,952,424           47,409,133
  20% of Guaranteed Debt                                                               $      9,590,485      $     9,481,827

  3,4,5
      The underlying calculations for "Readily Marketable Securities", "Restricted Assets in Investment" and "Illiquid
  Investments" can be found on this chart with the corresponding numbers.

  Source: The Corporation




                                                          14
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  Underlying Calculations for Liquidity Covenant and Net Worth Covenant

                                               Net Worth Calculation

                                                                                 6/30/2019       12/31/2019
  Total Net Assets                                                           $     78,786,027   $ 81,854,866
  + Bonds Payable (excluding premium amortization)                                 37,970,000      37,970,000
  + Deposits Payable                                                              153,888,042     141,953,209
  + Accrued Pension Liability                                                      43,232,295      44,132,295
  - Net Land, Bldg, & Equip                                                        71,521,278      70,449,039
  - Loans Receivable (net of doubtful)                                             68,520,032      71,921,560
  2 Total Fiancial Resources                                                 $    173,835,054   $ 163,539,771

  Source: The Corporation




                                  [Remainder of page intentionally left blank]




                                                       15
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Recent Developments

        During fiscal year 2018, the Corporation recorded an $8.5 million reserve for personal
misconduct claims. The increase in the reserve caused the Corporation to not meet the debt service
coverage ratio covenant for fiscal year 2018. Pursuant to Section 6.13, such failure to meet the debt
service coverage ratio for one fiscal year is not an event of default and in accordance with the Loan
Agreement, the Corporation engaged a management consultant to conduct a review and provide
recommendations to management.

        Management continues to monitor abuse claims working closely with legal counsel and maintains
appropriate reserves. The Archbishop and the Corporation continue to implement the “Charter for the
Protection of Children and Young People” adopted by the United States Conference of Catholic Bishops
in 2002 and other proactive policies adopted by the Corporation in regard to the prevention, recognition
and handling of abusive situations. As noted on page 11, the Corporation met the debt service ratio
coverage covenant for fiscal year 2019.

        Management has taken this opportunity to work with the management consultant to review
operations. Management is focused on reducing the operating deficit and has taken steps to reduce costs,
increase revenues and create efficiencies throughout the entire Archdiocese.

        Management has formed a sub-committee of the finance council, an internal budget committee
and a committee to review certain revenues of the Corporation. All of these groups are working on
recommendations to reduce the operating deficit and continue to work with the management consultant.
While some of the changes have been implemented in fiscal year 2020, many are expected to be phased in
over the next few years. Management is committed to making the necessary changes to create a
sustainable operating budget.

Other Recent Developments

         In January 2019 the Archdiocese announced that three elementary schools (St. Peter Claver, Our
Lady of Divine Providence and Sacred Heart of Jesus – Norco) and one special needs school (Holy Rosary)
will be closing at the end of the 2018-19 academic year. In January 2020, the Archdiocese announced the
closure of Christ the King elementary school at the end of the 2019-20 academic year. The closures are due
to a significant decline in student enrollment and budget deficits. A new institution, St. Thérèse Academy
for Exceptional Learners, opened this fall at the site of one of the closed elementary schools. St. Therese
serves elementary and high school students with mild to moderate exceptionalities through a 21st century
program of personalized learning.




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  2020 Budget

           Set forth below is a comparison of the Corporation’s June 30, 2020 approved budget in comparison
  to the June 30, 2019 actual results.

                                               Corporation's Approve d Budge t

                                                                                 June 30, 2020    June 30, 2019
                                                                                   Approve d         Actual
                                                                                    Budge t          Re sults
    Re ve nue , Gains, and Othe r Support

          Assessments to Affiliated Entities:
                Archdiocesan Support                                                10,518,561       10,269,321
                Priest Health Insurance and Retirement                               2,734,478        2,663,549
                Insurance                                                           16,133,224       34,203,196
          Total Assessments to Affiliated Entities                                  29,386,263       47,136,066

          Fee Revenue                                                                5,773,902        6,612,181
          Contributions and Grants                                                   2,162,905        3,384,092
          Rents and Royalties                                                          772,921          769,899
          Spending Distribution - Investment Income                                  4,278,169        4,241,843
          Interest Income - Deposit and Loan Fund                                    2,100,000        2,124,317
          Insurance Rebate                                                                 -          2,500,000
          Land Damage Settlements                                                          -          1,996,634
          Gain on Sale of Assets                                                           -          2,644,980
          Changes in Value of Charitable Remainder Trust                                   -            448,475
          Miscellaneous                                                                501,000          642,113
          Total Re ve nue , Gains, and Othe r Support                               44,975,160       72,500,600

    Expe nse s
          Advertising and Promotion                                                    340,650          333,777
          Bad Debt                                                                     750,000        2,348,564
          Contractual Services                                                       1,377,285        3,048,413
          Depreciation                                                               2,173,036        2,169,971
          Grants and Contributions                                                   2,295,780        2,952,797
          Insurance                                                                 14,705,503       32,168,482
          Interest                                                                   3,796,413        3,611,773
          Ministry Services                                                          1,660,987        2,017,233
          Miscellaneous                                                                767,257          320,417
          Occupancy                                                                    753,063          689,185
          Office Expenses                                                            1,586,602        1,495,425
          Payroll Tax and Employee Benefits                                          3,800,574        3,342,317
          Priest Housing and Living                                                  4,866,043        4,855,549
          Repairs and Maintenance                                                    1,893,065        1,634,460
          Salaries and Wages                                                         8,657,302        8,965,487
          Seminarian Assistance                                                      2,095,000        1,891,511
          Special Events                                                               287,285          269,492
          Staff Development                                                            664,770          692,533
          Subcriptions and Dues                                                        379,877          350,429
          Travel, Meals, and Entertainment                                             222,900          212,745
          Total Expe nse s                                                          53,073,392       73,370,560
    Income (Loss) From Ope rations                                                  (8,098,232)        (869,960)

    Source: The Corporation



          The financial statements for the fiscal year ended June 30, 2019 were audited by Bourgeois Bennett,
  L.L.C., New Orleans, Louisiana, certified public accountants.



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Annual Budget Process

        Corporation Budget. The Corporation operates on a July 1 through June 30 fiscal year.
Department heads within the Corporation submit budgets, which are then reviewed by the Finance Office
and the Corporation’s Administrative Council. The overall budget is reviewed by the Corporation’s
Finance Council, which makes recommendations to the Archbishop. The Archbishop has ultimate
responsibility for the budget. The major revenue components for the budget are the insurance premiums
charged to parishes and schools for the Corporation health insurance, worker’s compensation and property
insurance programs, parish and school assessments and investment income. The Corporation expects that
the high schools and special needs schools which are owned by the Corporation will budget on a self-
sustaining basis with respect to tuition and fees budgeted to cover costs of operations. However, the
Corporation is not restricted by its Administrative Offices budget or otherwise from providing additional
support to these Corporation owned schools.

        The major expense components in fiscal year 2019 were (in the following order of magnitude) costs
incurred for insurance (health, general liability, property and worker’s compensation insurance), salaries
and wages, priest housing and living, interest, and contractual services. In addition, the Corporation pays
annual assessments to the Vatican, the United States Conference of Catholic Bishops, and the Louisiana
Catholic Conference. The Corporation generally budgets and operates on a basis consistent with its mission.

         The Corporation’s operating results were improved in fiscal year 2019 primarily due to significant
one-time events including land damage settlements of approximately $2 million, insurance rebates of $2.5
million, gain on sale of assets of $2.6 million (see page 21), rebates from state tuition program and a bequest
of approximately $723,000 received.

         Variances noted in insurance revenue, insurance expense and contracted services are due to the
self-insured health insurance program which is was not included in the approved operating budget for fiscal
year 2020.

        Parish and School Budgets. Each parish of the Corporation prepares an individual budget for such
parish, which is developed by the pastor of the parish and his staff under the guidelines provided by the
Corporation, and is then reviewed by the parish Finance Council. A parish Finance Council generally
includes at least three Catholic parishioners appointed by the pastor for three year terms, and meets at least
two times per year to assist in the preparation of the annual budget and to prepare annual reports of actual
financial results to parishioners. The parish Finance Councils serve an advisory role only, and have no
independent authority.

         Parish and school budgets are not centrally prepared. The Chief Financial Officer of the
Corporation provides the parishes and schools with budget guidelines. The budgets are prepared by the
pastor, parish council, finance council and school administration of each parish. Parishes report their
financial position and results of operations to the Corporation on an annual basis. In addition, all capital
expenditures requiring significant loans are reviewed by the Corporation’s Finance Council with final
approval by the Archbishop. To the extent parishes need additional funds to operate, they are generally
eligible to borrow from the Corporation’s Deposit and Loan Fund. On a case by case basis, the Corporation
may provide additional financial support, but such instances have been rare and, under the Loan Agreement,
can be done only if the Corporation determines that use of such revenues will not adversely affect the ability
of the Corporation to make its required loan repayments under the Loan Agreement and to make any
payments on any other of its indebtedness when due.




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  Investments

           The Corporation’s investments are accounted for in pooled assets and separately invested
  portfolios. Pooled assets represent funds that are invested in a commingled portfolio of assets, as opposed
  to the separately invested assets which have segregated investments. Investments are recorded at fair value
  at June 30, 2016-2019 and consisted of the following:

                                                 2016              2017              2018              2019
  Pooled asset portfolio:
    Cash and cash equivalents                $     6,916,730   $    11,286,288   $    15,607,864   $    10,078,926
    U.S. government and agency obligations         9,478,794        13,993,052        15,060,432        21,043,394
    Government agency mortgage obligations               -                 -                 -             500,762
    Corporate and foreign obligations              7,719,010        15,700,613        14,495,603        20,279,855
    Collateralized mortgage obligations            1,194,605           848,052           267,047           430,820
    Asset-backed securities                        1,310,580         4,071,184         5,108,319         4,653,458
    Common stocks                                  9,944,822       105,074,849       119,618,926       124,707,087
    Mutual funds                                  76,483,833         7,351,400         7,634,807         8,269,191
    Exchange traded funds                          6,745,258           885,582           352,886           406,688
    Common trust funds                            16,588,191               -                 -                 -
    Limited partnerships                          10,609,076        11,555,330        10,786,065         9,971,673
    Fund of Funds                                  4,915,753         4,711,520         4,371,236         4,750,062
    Hedge feeder fund                              4,058,724         4,422,298         4,598,521         4,091,721
    Segregated portfolio companies                 9,916,740        11,044,718        11,591,337        11,564,196
     Total pooled asset portfolio            $   165,882,116   $   190,944,886   $   209,493,043   $   220,747,833

  Separately Invested Portfolio:
    Cash and cash equivalents                $     2,990,203   $    22,170,559   $     8,264,772   $    16,963,703
    Brokered certificates of deposit               2,357,892         1,380,335           494,050           499,440
    Commercial paper                                     -           4,992,849               -                 -
    Government and agency obligations             11,400,116        15,719,620        18,742,772        19,663,979
    Corporate obligations                         27,045,432        28,840,172        33,713,531        30,506,396
    Investment in Catholic Umbrella Pool             697,224           703,297           631,522           515,700
    Municipal obligations                         21,081,117        21,500,450        21,895,489        16,632,616
    Collateralized mortgage obligations              837,863            15,890             7,511               -
    Asset-backed securities                          311,100               -                 -                 -
     Total separately invested portfolio     $    66,720,947   $    95,323,172   $    83,749,647   $    84,781,834
       Totals                                $   232,603,063   $   286,268,058   $   293,242,690   $   305,529,667

  Source: The Corporation



  Included within the “Total pooled asset portfolio” above are investments made by the Corporation of
  custodial funds, which are not funds of the Corporation but are funds held and invested by the Corporation
  for others. The amounts of custodial funds accounted for within these investments for fiscal years ended
  June 30, 2016 through 2019 were $83.4 million, $102.8 million, $118.6 million and $130.5 million,
  respectively, and accordingly, approximately $82.5 million, $88.1 million, $90.9 million and $90.2 million
  were investments owned by the Corporation. Such amounts also include the net amount of the Deposit and
  Loan Fund (described below) being the total amount of deposits to the Deposit and Loan Fund less amounts
  loaned to depositors.

  Deposit and Loan Fund

          The Deposit and Loan Fund has been the “internal bank” for the Corporation since the early 1960s.
  The Deposit and Loan Fund has aided parishes, schools and other Archdiocesan institutions with
  low-interest loans for construction, renovations, expansions and emergency needs and has been a facility
  in which to invest excess working capital. Archdiocesan institutions are required to deposit funds in excess
  of 90 days of operating cash with the Deposit and Loan Fund. Deposit rates are based on the 90-day U.S.


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          Treasury Bill rate as of March 31 to be adjusted annually effective July 1. The deposit rate is based on the
          90-day Treasury Bill plus 100 basis points. The loan rate is based on the 90-day Treasury Bill plus 400
          basis points. The Archdiocesan Finance Council recommended, and Archbishop Aymond approved, the
          interest rates as follows: loans equaled 4.6% and deposits equaled 1.3% for fiscal year ending June 30,
          2019. All borrowing at the individual parish level goes through the Deposit and Loan Fund. The criteria
          for granting the loan is need, ability to service debt and the financial condition of the Archdiocese. The
          standard requirement to qualify for a loan is 50% of estimated value of the project on deposit with the
          Archdiocese, 25% pledged and a plan to service the remaining 25%. Loans up to $100,000 require the
          approval of the Chief Operating Officer or Chief Financial Officer; loans from $100,000 to $500,000
          require the approval of the Vicar General; and loans over $500,000 require the recommendation of the
          Archdiocesan Finance Council, and the approval of the Archbishop.

                   Although deposits are technically reported as liabilities in the Corporation’s financial statements,
          they represent obligations the Corporation owes to its own parishes and therefore function effectively as
          temporarily designated assets that could be used to pay debt service for capital projects. As of June 30,
          2019, the amount of deposits in the Deposit and Loan Fund was approximately $154 million, the amount
          of loans was approximately $68.5 million and, accordingly, approximately $85.5 million was on deposit
          but not loaned out, constituting temporarily designated assets that would be repaid to depositors when due
          or requested by the depositors.

                   Management performed a comprehensive review of the loans for fiscal year 2019 and as a result,
          as noted in Note 4 of the audited financial statements, $8.2 million of loans that were previously reserved
          were forgiven. Management has worked to develop a more formal process to review loans and collectability
          that includes meeting with pastors, principals and finance council members to review the status of loans
          and document payment plans.

          Assessment Revenue

                   The Corporation assesses its parishes, schools and affiliates. Assessment Revenue is comprised of
          three components: Archdiocesan Support, which includes parish share (or church tax) and student
          assessments, the Insurance Assessment; and the Priests’ Benefits Assessment. The schools are assessed
          $27.50 per student, for fiscal year 2019. The parish share is based on a series of incremental (marginal)
          graduated rates based on a parish’s income. Income subject to assessment by the Archdiocese equals the
          total income of the parish minus capital campaign revenue minus school support. Total income of a parish
          is comprised of ordinary income (weekly collections, etc.) and extraordinary income (fairs, fundraisers,
          etc.).
                                                                       Parish Tax Rates

 Income Subject           Incremental                    Incremental                          Incremental                        Incremental
 to Assessment             Tax Rate      Applies to       Tax Rate         Applies To          Tax Rate       Applies To          Tax Rate     Applies To

$0-$100,000                   5%        Entire Amount
$100,001-$200,0000            8%        Entire Amount
$200,001-$400,0000           10%        First $200,000      15%          Remainder
$400,001-$600,0000           15%        First $400,000      18%          Remainder
$600,001-$800,0000           15%        First $400,000      18%          $400,001-$600,0000      19%        Remainder
Over $800,000                15%        First $400,000      18%          $400,001-$600,0000      19%        $600,001-$800,0000      20%        Remainder


Source: The Corporation




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                                                Distribution of Assessment Revenue
                                                   Fiscal Year Ended June 30, 2019
                            School Share   Parish Share Other Insurance Health Insurance Priests' Benefits      Total

  Total                       $940,005     $9,329,316     $16,592,428      $17,610,768       $2,663,549      $47,136,066

  Source: The Corporation


  Undeveloped Land of the Corporation

           The Corporation owned approximately 400 acres of undeveloped land and properties which, in
  many instances, have been owned by the Corporation and its predecessors for many years. While accounted
  for on the financial statements of the Administrative Offices, in most cases there have been no recent
  appraisals, and therefore such land and properties are not recorded at fair market value but instead are
  carried at little or no value.

           Approximately 365 of such acres were in close proximity to the hereinafter described SAG Project.
  Of that 365 acres, the Corporation contributed 23.8 acres of land to the SAG Project and 11.5 acres for
  construction of a church, sold 104 acres to an unrelated party for $1,549,962, and contributed 76.1 acres to
  supporting organizations of the Archdiocese, leaving approximately 150 acres of undeveloped land in that
  area. The 150 acres is carried on the books of the Administrative Offices at $339,151. However, this
  transaction is not necessarily indicative of the value of any other undeveloped property of the Corporation,
  and, in addition, not all of the land is developable, and any permitted development would require a variety
  of approvals, permits and potential zoning changes.

          None of these parcels of real estate is mortgaged in support of the Corporation’s obligations under
  the Loan Agreement supporting the Bonds. However, any proceeds from the sale of these parcels would
  constitute revenues of the Administrative Offices and as such, would be available to make loan repayments
  under the Loan Agreement and pay debt service on the Bonds.

           During the fiscal year 2019, three parcels of real estate were sold. One of the parcels was sold to
  an affiliated entity to expand their nursing home facility. One of the properties was located near a
  Corporation-owned high school and was sold to a third party. A portion of this sale was donated to the
  respective high school in fiscal year 2020 to further its mission. The final parcel sold was to an outside
  entity which works in collaboration with the ministries of the Archdiocese and will provide additional
  services within the community.

  Description of Indebtedness

           The Bonds are the only direct long-term indebtedness of the Corporation.

           The Corporation has also guaranteed certain indebtedness of an affiliate, St. Anthony’s Gardens
  (“SAG”), a state of Louisiana non-profit corporation formed in 2012 for the sole purpose of developing a
  rental fee-for-service senior living retirement community known as St. Anthony’s Gardens (the “SAG
  Project”) and located in St. Tammany Parish, Louisiana near New Orleans. The SAG Project was funded
  by a contribution of 23.8 acres of land by the Corporation, and $40,521,000 of senior (the “Existing Senior
  SAG Debt”) and $12,632,116 of subordinate debt, issued through the Authority for the benefit of SAG,
  which was the borrower. The Corporation is the holder of the subordinate debt. During 2017, most of the
  subordinated debt was refinanced with a $12,000,000 loan from the Whitney National Bank. As of June 30,
  2019 and 2018, the total balances on the subordinated debt were $9,983,896 and $6,118,776, respectively.
  The Administrative Offices is expected to continue to extend funds pursuant to this agreement during the
  next year or two in order to help cover senior debt services and operating cash flow needs until the housing
  ministry is able to generate cash flows sufficient to cover its obligations.

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         The SAG Project is complete and consists of 213 units, including 120 independent living units, 57
assisted living units and 36 memory care units. Occupancy commenced in late November of 2016. As of
January 31, 2020, SAG was at 73% occupancy with 156 units under lease of which 84 were for independent
living, 45 were for assisted living and 27 were for memory care, however, there can be no assurance of any
level or levels of occupancy.

          Currently, the Corporation has guaranteed 100% of the Existing Senior SAG Debt pursuant to a
Guaranty dated September 4, 2014 (the “SAG Guaranty”). The SAG Guaranty provides that the amount
of the Senior SAG Debt guaranteed reduces from 100% to 35% when (a) completion of the SAG Project
has occurred, (b) the senior debt service ratio of SAG for the immediately preceding fiscal year exceeds
1:25 to 1, (c) no event of default or default has occurred and is continuing and (d) SAG’s days cash on hand
exceeds 120. The SAG Guaranty will terminate in full when (i) completion of the SAG Project has
occurred, (ii) the senior debt service ratio of SAG for the immediately preceding fiscal year exceeds 1.4 to
1, (iii) no event of default or default has occurred and is continuing and (iv) SAG’s days cash on hand
exceeds 120.

        Under the covenants contained in the Loan Agreement for the Bonds, guarantees (other than on
non-performing debt) are generally included at a 20% level of the debt guaranteed or 100% of the level
guaranteed on non-performing debt based on the definition of “Annual Debt Service Requirements” per the
loan agreement.

Hurricane Katrina and Recovery

        On August 29, 2005, Hurricane Katrina crossed the Louisiana coast causing catastrophic damage
to many of the Archdiocese properties in the civil parishes of Orleans, Plaquemines, St. Bernard, Jefferson,
and St. Tammany.

         The June 30, 2019 and 2018 financial statements reflect certain unusual items resulting from the
effects of Hurricane Katrina on the operations of the Administrative Offices and certain non-combined
affiliated entities. The 2019 and 2018 statements of activities reflect approximately $3.3 million and $4.1
million, respectively, of federal grant monies received and approximately $3.3 million and $4.1 million,
respectively, of recovery-related expenses.

        Cumulatively, through June 30, 2019, the Administrative Offices has received approximately $286
million of federal grant monies related to Hurricane Katrina. Of this total, approximately $48 million was
spent on non-combined affiliated entity capital projects which were recorded as part of land, buildings, and
equipment. As of June 30, 2019, unrestricted net assets include expenditures of federal grant monies of
approximately $40.8 million related to capital costs, net of accumulated depreciation. Remaining federal
grant monies to be received as of June 30, 2019, total approximately $18 million.

Nursing Homes and Affordable Senior Living

        The Corporation operates nursing homes and subsidized affordable senior living rental units
through various affiliated entities:

          Effective July 9 2019, Chateau de Notre Dame Inc. was renamed Notre Dame Health System. As
Notre Dame Health System, all providers will be marketed as a collaboration of faith-based living
communities and services provided by the Archdiocese of New Orleans. Each individual entity will retain
its existing name combined with the new system name. Rooted in the loving ministry of Jesus Christ, its
mission will continue to be focused on providing a continuum of care in an environment that empowers,
educates and nurtures the whole person as reflected in its new tagline, “Called to Serve. Committed to
Care.” Notre Dame Health Systems consists of the following:

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        Chateau de Notre Dame offers assisted living and skilled nursing care. There are 100 assisted
living apartment units and 171 skilled nursing beds.

          Wynhoven Health Care Center offers skilled nursing care. Currently it has 188 skilled nursing
beds.

        Our Lady of Wisdom was acquired at the beginning of 2017 and offers skilled nursing care with
138 skilled nursing beds.

        Notre Dame Hospice offers hospice services through three offices (New Orleans and Prairieville,
Louisiana and Diamondhead, Mississippi) to qualifying individuals who reside within a 50-mile radius of
one of those offices. Those service areas cover much of southeastern Louisiana and the Mississippi gulf
coast.

       Effective July 1, 2018, Notre Dame Home Care was acquired and licensed by the Louisiana
Department of Health to offer home and community based services in the Greater New Orleans area
community. Parishes included in this license are Orleans, Jefferson, Plaquemines, and St. Bernard.

        On August 18, 2019, subsequent to the fiscal year ending June 30, 2019, Notre Dame Health System
purchased an operating home health agency with two licensed locations in Mandeville and Metairie. This
agency, which is doing business as Notre Dame Home Health, will expand the continuum of care to the
community located within the licensed area by providing skilled care to home bound patients.

       Chateau de Notre Dame, Wynhoven Health Care Center, Our Lady of Wisdom and Notre Dame
Hospice are licensed through the Louisiana Department of Health (and in the case of the Notre Dame
Hospice, also by the appropriate agencies in Mississippi). They are designated to receive Medicare
reimbursements, Medicaid reimbursements, and private pay billings.

       Christopher Homes, Inc. (“CHI”) currently manages approximately 2,440 subsidized rental units
in 21 separate facilities for the low income elderly. CHI is the housing management agent for the
Corporation.

Schools

        Approximately 34,870 students receive a quality and disciplined education in the schools
administered by the Corporation. Catholic education began in New Orleans in 1725. The Corporation has
consistently demonstrated the ability to meet the high demand for education and maintain the reputation of
providing a quality product.

Insurance Coverage

        In May 2011, the Corporation incorporated a non-profit captive insurance company in the State of
Vermont and The Archdiocese of New Orleans Indemnity, Inc. was capitalized with a $2,000,000
investment from the Corporation. The purpose of the captive is to reduce the Corporation’s long term cost
of insurance.

        The captive provides a self-insurance program for general liability, property, auto liability, and
personal misconduct. The captive is self-insured for $300,000 per occurrence up to an annual aggregate
limit of $3.5 million. In addition, the captive provides coverage for workman’s compensation with an
$800,000 self-insured retention with no annual aggregate.




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           In addition, the Archdiocese became self-insured for health insurance during the fiscal year 2019.
  All parishes, schools and non-combined affiliated entities participate in the health insurance program which
  includes enrollment of approximately 4,100. The Archdiocese is self-insured for claims up to $10,000.
  The captive provides medical stop-loss coverage for claims between $10,000 and $300,000 and aggregate
  stop-loss coverage for total claims in excess of 110% of expected claims. Additionally, the Archdiocese
  has purchased excess medical/pharmacy stop-loss coverage for claims over $300,000.

          The Corporation incurs an annual insurance expense of approximately $5,976,000 related to the
  captive. This amount is premium earned for the captive.

          In the fiscal year ended June 30, 2016, the captive declared a dividend of $2,000,000. The
  Corporation received the dividend and has now recovered its initial investment. The dividend is reflected
  in the net asset reduction from the fiscal year ended June 30, 2016 to the fiscal year ended June 30, 2017.
  The captive declared a dividend of $875,000 in fiscal year 2018 and $2,500,000 in fiscal year 2019.

          At June 30, 2018 and 2019, and at December 31, 2018 and 2019 (on an unaudited basis) the
  captive’s balance sheet was as follows:

                                                Audite d         Audite d       Unaudite d       Unaudite d
                                               6/30/2018        6/30/2019       12/31/2018       12/31/2019
  Asse ts
   Cash & Investments                          13,595,889       14,501,070       17,138,176       13,325,191
   Receviables                                  1,403,992        1,556,515        6,182,326        4,516,911
   Other Assets                                   100,469           86,440           94,198          120,168
       Total Asse ts                           15,100,350       16,144,025       23,414,700       17,962,270

  Liabilitie s and Ne t Asse ts
  Liabilitie s
   Cash Base Reserves                           3,662,452        3,654,669        4,052,348        3,673,496
   IBNR Reserves                                4,257,467        4,698,750        4,449,794        5,302,076
   IBNP Reserves                                      -            893,000              -            893,000
   Losses Payable                               1,383,210        2,798,853        2,875,266        1,645,132
   Unearned Premium Reserve                           -                -          2,988,218        3,011,274
   Accounts Payable                               244,250          322,730          408,468          850,275
       Total Liabilities                        9,547,379       12,368,002       14,774,094       15,375,253

  Ne t Asse ts
   Unrestricted Net Assets                      5,552,971        3,776,023         8,640,606        2,587,017
       Total Liabiltie s and Ne t Asse ts      15,100,350       16,144,025       23,414,700       17,962,270

  Source: The Corporation




  The Corporation is also insured through the Catholic Mutual Group (CMG). CMG provides various types
  of coverages. For example, building and contents, general liability, excess liability, personal misconduct,
  directors and officers liability, excess named storms, etc. These expenses are allocated to various entities
  throughout the Archdiocese. The revenues and expenses related to these items are reflected in the statement
  of Income and Expense of the Archdiocese. These various entities reimburse the Archdiocese for their
  share of these premiums.


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       The Archdiocese also obtains flood insurance on all eligible properties under the federal National
Flood Program. However, not all properties of the Archdiocese are eligible for this type of insurance.

Litigation and Contingencies

         The Corporation maintains an insurance policy for future potential personal misconduct claims in
the amount of $2,000,000 (annual aggregate) and various levels of coverage for prior years based on the
date of the allegation. As discussed under “Recent Developments” on page 16, the Corporation has also
recorded $8.5 million for insurance reserve. The Corporation maintains insurance coverage for other
pending and threatened litigation as well. See “Insurance Coverage” immediately above.

Limits on Capital Expenditures

         The Archdiocese controls all building renovation and repair projects through the Building Office.
The Building Office employs three design professionals: two architects and a construction manager. Initial
requests for projects must include the following details: the pastoral or institutional need for the project; the
nature of the project and a description of how it meets the pastoral or institutional need; approximate cost
of the project; how the project will be financed (e.g., funds on deposit, building campaign, or Archdiocesan
loan); and if the project involves a worship area, the pastor must meet with the office of worship.

        Approvals are required as follows: on projects from $10,000 to $100,000, the approval of the Chief
Financial Officer or the Chief Operating Officer is required; on projects from $100,000 to $500,000, the
approval of the Vicar General is required, and on projects over $500,000, the approvals of the Archdiocesan
Finance Council and the Archbishop are required.

Defined Benefit Pension Plan

        Incardinated priests of the Archdiocese whose retirement from active service is duly accepted by
the Archbishop are eligible for retirement benefits. Benefit payments are based on years of service rather
than compensation levels. The retirement plan is not an ERISA plan.

         As of June 30, 2019, the plan had an accrued pension liability of approximately $43.2 million. The
actuarial present value of the projected benefit obligation was computed using a weighted average discount
rate of 4.28%. The Corporation expects to make benefit payments to the pension plan of $1.48 million in
fiscal year 2020.

Employee Relations

       The Corporation characterizes its employee relations to be good. No portion of the Corporation’s
workforce is unionized or participates in collective bargaining.




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